

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-67,925-01






EX PARTE CHARLES ANISON ROGERS, JR, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F7887-A IN THE 8TH DISTRICT COURT


FROM FRANKLIN COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a controlled
substance with intent to deliver and sentenced to sixty (60) years' imprisonment.  The Sixth Court of
Appeals dismissed his appeal because the notice of appeal was untimely filed.  Rogers v. State, No.06-06-00145-CR (Tex. App. - Texarkana, 2006, no pet.). 

	

	Applicant contends that counsel rendered ineffective assistance because counsel failed to timely
file a notice of appeal. 

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court shall
provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance of counsel
on appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In
the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether applicant is indigent. If applicant
is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to represent
applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was denied right to a meaningful
appeal because Applicant's counsel failed to timely file a notice of appeal.  The trial court shall also make
any other findings of fact and conclusions of law that it deems relevant and appropriate to the disposition
of Applicant's claim for habeas corpus relief. 

	This application will be held in abeyance until the trial court has resolved the fact issues.  The issues
shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 




Filed:   August 22, 2007

Do not publish


